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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                        FT. LAUDERDALE DIVSION
 ------------------------------------------------------------------------x
  Amir Ohayon                                                              Civil Action No:
                                                                           0:20-cv-62664
                                                    Plaintiff,




            -v.-

  JP Morgan Chase Bank, N.A.



                                               Defendant(s).
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                                        NOTICE OF SETTLEMENT

           Notice is hereby given that the parties have settled this matter. The parties anticipate

 completing settlement documents and filing a dismissal with the Court within the next sixty (60)

 days. The parties request that the Court retain jurisdiction of this case during said sixty (60) day

 period.


 DATED, this 9th day of September, 2021

                                                               /s/Justin E. Zeig
                                                               Justin E. Zeig, Esq.
                                                               Zeig Law Firm, LLC
                                                               3475 Sheridan Street Suite 310
                                                               Hollywood, FL 33021
                                                               Phone: 754-217-3084
                                                               justin@zeiglawfirm.com




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
 on September 9, 2021 with the Clerk of Court using CM/ECF. I also certify that the foregoing
 document is being served this day on all counsel of record or pro se parties identified on the Service
 List below either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
 other authorized manner for those counsel or parties who are not authorized to receive
 electronically Notices of Electronic Filing.



                                                /s/ Justin E. Zeig
                                                Justin E. Zeig, Esq.




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